Case 2:18-cv-13556-SM-KWR Document 482-6

O HERALDO

VOICE OF GOA SINCE 1900

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zagement in Ladakh’s Depsang, Demchok to be completed today - Russia bombs historic Soviet skyscraper in Ukraine’s Kharkiv -

Goa
Voyage of near death & survival!

Canacona-based seafarer defies death on duty and returns home to tell the tale

Herald Team

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Abel Barretto

CANACONA: Life and death can infuse different emotions at different times, but
when encountered simultaneously it can generate joyless pain, instead of
painless joy!

That perhaps was the exact feeling Vishveshwar's family experienced when they
were informed of their son’s impending death in Brazil and at the same time
received the news of the birth of their first grandchild. But sometimes strong
desire to be reunited with loved ones can repel the extended hands of death
itself.

For Vishveshwar, from Agonda in Canacona, the only son of his parents, life was
pleasant and full of joy, until his cargo ship, reached Port Ovendo in Gabon, an
underdeveloped country on the African coast and listed as highly malaria-prone
country.

After the ship, where he worked as a helmsman, left Gabon and neared Rio de
Janeiro port in Brazil, he started getting fever, and as a standard practice
immediately brought his health issue to Second Officer, who also doubled up as
medical officer, as medical help was several nautical miles away.

Incidentally, the medical officer did not give him any medication as the ship
readied to enter Rio de Janeiro port and he got busy going through the list of all
medicine available on the ship. The Second officer thus administered him some
powder, to bring his temperature down.

Soon Vishveshwar was brought to the Rio Mar Hospital, where he slipped into
coma with most of his vital organs dysfunctional. Pathological examination
suggested that he was suffering from malaria by plasmodium falciparum. He
regained consciousness after 20 days to find his legs bandaged and was
informed that his toes had to be cut to save him from gangrene that was
dangerously spreading to upper part of his legs.

With no one to talk to and no communication back home he found himself
dejected as the doctors amputated his toes, two at a time as he lay half dead in
the hospital.

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That is when a Brazilian girl, who used to visit her granny next to his bed,
became an angel in disguise, after realising that the sick man had no one to look
after. She got his name, tucked at his bedside and posted the message on
Facebook and contacted his cousin in Agonda, who was initially skeptical on
being called by a girl, but then gave the phone number of Vishveshwar's father.

The girl helped in contacting his family, till he was declared fit to be discharged.
With surgical amputation and debridement performed on both his feet he was
allowed for aero-medical repatriation escorted by a medical officer after being
in the hospital in Brazil for almost two-and-a-half months to Goa airport, from
where he was directly shifted to Salgaocar Medical Hospital and Research
Centre, Chicalim.

After a horrendous time, struggling between life and death and losing most of
his toes, Vishveshwar Ganpat Kholkar defeated death and was happy to be alive
and with his baby, wife and parents, even though he now has 30 per cent
disability, for which he blames the captain and the medical officer for their
negligence.

The young man who has escaped the jaws of death is now getting ready to
regain total health and a long legal battle with his company for a fair
compensation.

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